
Danforth, J.
(dissenting).—The question we have to determine is whether the act of 1885 (supra), discloses an intent that property within this state, but belonging at the time of her death to a non-resident, shall be taxed under its *578provisions. I am of the opinion that such is its manifest, purpose. The language of the first section takes in all. property within the state which may be the* subject of transmission by will, or, in case of intestacy, by statute, or of alienation by deed, grant, sale, or gift, made or intended to take effect in possession or enjoyment after the death of the grantor. The property subjected to taxation is within the state. The words used makes it immaterial whether that property belonged to a resident or a non-resident, so that its owner makes a testamentary disposition of it, or a disposition of that nature, in whatever form it may be. This construction is most in harmony with the subject of the statute, and with the general policy of the state in reference to taxation.
In the construction of such statutes exemption is hot favored (People ex rel. Manhattan Fire Ins. Co., 76 N. Y., 64; People ex rel. West. Fire Ins. Co., 91 id., 575), and whatever grammatical difficulties may stand in the way,, the intent of the legislature, if let out by its language, should be made effective. It may be as the appellant-claims, that no satisfactory conclusion can be reached by following the exact punctuation and philology of the separate clauses of the statute, but the language is not incapable of a reasonable meaning, and it is enough if its general scope and tenor furnishes sufficient light for a sensible interpretation not at variance with the words in which the design of the legislature has been clothed. Such is the case before us.
It is conceded by the learned counsel for the appellant that the confusion thought to be apparent in the words of' this act is cured by the amendatory act of 1887 (chap. 713).. The corresponding provisions as contained in that statute are, “after the passage of this act all property which shall pass by will or by the intestate laws of this state from any person who may die seized or possessed of the same while a resident of this state, or if such decedent was not a resident of this state at the time of death, which property, or any part thereof, shall be within this state.” The amendatory words are those in italics. They supply, by explicit-designation, what was implied in the former act and facilitate the interpretation of the other clauses, but they are, nevertheless, superfluous. They are neither wider than the former words, nor do they make the statute more comprehensive than it was originally, nor require a different-meaning to be given to it.
Under either statute the clear intention was to bring in tor taxation all property, real and personal, without regard to residence, which was within the jurisdiction of the courts of this state, and to be administered under its laws-*579for the beneficiaries named in the act, subject only to the exception^ named in the act itself, and no reason can be gathered from the first section for any other limitation. Subsequent sections sustain the view I have presented. Section 11 regulates the conduct of foreign executors or administrators in reference to certain property of the decedent, and section 15 provides for priority of jurisdiction in ■case “of a decedent who was not a resident of the state,” as well as over the estate of a decedent who, at the time of his death, was a resident.
Nor do I concéive there is any reasonable doubt as to the property upon which the tax should be levied. The appellant’s contention is that as to the personal securities, the residuum, after the payment of debts and other charges, should alone be assessed, and that the court of the decedent’s domicile is the only one that can properly determine how much of them will go to the collateral beneficiaries. The power of the legislature to tax the succession of nonresidents to property in this state is unquestioned. The property chargeable with the tax is defined with such clearness as to deprive the appellant’s contention of all force.
In the first place it is all property which shall pass (sec. 1). (2d). Its value in certain cases is to be appraised immediately after the death of the decedent, at what was the fair market value thereof at the time of his death. (3d). All taxes imposed by the act are made due and payable at the death of the decedent (sec. 4), and the executors’ are given power to sell not, it will be observed, the property actually subject to distribution to the beneficiaries, but “ so much of the property of the decedent as will enable them to pay said tax (sec. 7); and by section eight they are required within thirty days to pay over the tax retained by them, to the comptroller of the city, or treasurer of the proper county, as the case may be.
Other sections provide for the appraisal of the property of persons whose estates are subject to the payment of the tax, others to secure its payment, and so framed as to prevent injustice to the persons interested in the property. But the primary object of the law is the imposition of the tax and its prompt collection. To that end the executor is empowered to raise money by sale, and in case of stocks or bonds standing in the name of a decedent, or in trust for a decedent, where the foreign executor assigns or transfers them, the tax must be paid on the transfer or if he fails to do so, the corporation itself must pay the tax. The last provision as to payment by a corporation, could of course only be enforced against a domestic corporation or one doing business within this state.
There is no danger, therefore, that any such securities can be effectually assigned or transferred by the executor *580until the statute is ■ complied with, or that the payment of the tax may be so evaded. The condition of his assignee would be "no better than his own.
If erroneously paid (sec. 10), or if debts are proven against the estate of a decedent after the payment of legacies or distribution of property from which the tax has been deducted, or upon which it has been paid, a just proportion of the tax is to be repaid. But the taxes are first and at all events to be paid or secured, and this is to be done if necessary from the very property of which the decedent was in her life-time seized.
The authorities cited from other states would seem from their language to stand upon a different statute. They cannot in any case affect the construction of our own. The order appealed from applies only to real property and personal securities which at the time of the death of the decedent, were within this state.
It conforms to the statute now before us and should be affirmed.
